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                        AFFIDAVIT IN SUPPORT OF
                A CRIMINAL COMPLAINT AND ARREST WARRANT

      I, Brendan Fogerty being sworn, state:

                   Introduction and Agent Background

 1. I have been a Special Agent with the Federal Bureau of

 Investigation (FBI) since 2014. I have been assigned to the

 Joint Terrorism Task Force of the Federal Bureau of

 Investigation’s Boston Division, Providence Residence Agency

 since 2019. Prior to this, I had been assigned to the Violent

 Crime Task Force of the Federal Bureau of Investigation’s Boston

 Division since 2015. I have also received specialized training

 regarding investigative techniques, evidence collection, and

 evidence preservation.

 2. This affidavit is submitted in support of a criminal

 complaint charging NICHOLAS L SCAGLIONE, date of birth of

 December 9, 1989 of Cranston, Rhode Island with one count of the

 attempted malicious destruction of a vehicle by fire in

 violation of Title 18, United States Code, Section 844(f)(1).

 The facts in this affidavit come from my personal observations,

 my training and experience, and information obtained from other

 agents and witnesses. This affidavit is intended to show that

 there is probable cause for the requested warrant and does not

 set forth all of my knowledge about this matter.
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 3. Title 18, United States Code, Section 844(f)(1) makes it a

 crime for whoever maliciously damages or destroys, or attempts

 to damage or destroy, by means of fire or an explosive, any

 building, vehicle, or other personal or real property in whole

 or in part owned or possessed by, or leased to, the United

 States, or any department or agency thereof, or any institution

 or organization receiving Federal financial assistance. 

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 4. The Federal Bureau of Investigation has been engaged

 in an investigation into the arson of a Providence Police

 Department vehicle in the early hours of June 2, 2020 during a

 riot.   At all relevant times, the Providence Police Department

 was an institution or organization receiving Federal financial

 assistance.

 5. The FBI and Providence Police Department have acquired video

 from surveillance cameras, cell phones, and social media.            These

 videos revealed during the riot, several individuals directly

 participated in the arson of the aforementioned Providence

 Police Department vehicle.

 6. Videos examined included, but are not limited to, video from

 Facebook account user ‘n(redacted).j(redacted).33’

 (https://www.facebook.com/n(redacted).j(redacted).33/videos/vb.1

 00000489980581/5047316721961277/?type=2&video_source=user_video_
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 tab); cell phone extractions given by consent and conducted by

 the Providence Police Department; and other videos submitted via

 the FBI tip line.

 7. A tip line email led law enforcement to interview E. B. (“E.

 B.”) who admitted that he was present and recording on his cell

 phone during the arson, but did not participate. The identity of

 E. B. is known to me.      E. B. consented to providing his video of

 the arson.

 8. Multiple angles of the videos further indicate that one of

 the individuals responsible for the arson of the vehicle was a

 light-skinned male with a black beard and a slender build.            This

 individual wore a black hooded sweatshirt with white stripes on

 the sleeves and inset black writing, a black baseball hat with

 red writing on the back, and a black & white bandana.

 9. Following the arson, review of the videos identified R. R.

 (“R. R.”) in the crowd and filming with his cell phone in close

 proximity to the Providence Police Department vehicle before it

 was set on fire. The identity of R. R. is known to me.            R. R.

 consented to providing his video of the arson.

 10. On August 6, 2020, FBI Boston produced a press release and

 wanted poster featuring two individuals who were persons of

 interest in the June 2, 2020 arson of the Providence Police

 Department vehicle (Exhibit #1).        This wanted poster and press
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 release contained images taken from R. R.’s videos (Exhibits 2-

 8).

 11. Following this release, a witness (“CW#1”) contacted the

 Rhode Island State Police and subsequently the Providence FBI.1

 12. In an in-person interview with CW#1 on August 7, 2020,

 he/she stated that the person depicted in the FBI Wanted Poster

 as ‘Individual #2’ was NICHOLAS L. SCAGLIONE.                                   CW#1 had known

 SCAGLIONE for his/her entire life.

 13. CW#1 was aware of a text message that NICHOLAS L. SCAGLIONE

 sent to another individual.                                    This text message included a

 photograph depicting SCAGLIONE on top of a Providence Police

 Department vehicle that occurred during the riot the evening of

 June 1/ early morning of June 2, 2020.                                   CW#1 provided this

 photograph to investigators (Exhibit #9).                                   This depicts an

 individual wearing a black and white ‘Calvin Klein Jeans’

 sweatshirt, black hat on backwards, and black and white bandana

 consistent with the images from the R. R. and E. B. videos.

 14. CW#1 stated that he/she had a conversation with SCAGLIONE in

 which he/she asked SCAGLIONE why he was at the riot. SCAGLIONE

 replied that his father would be proud because the police gave

 his father a hard time and the police harass SCAGLIONE as well.


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 1 The identity of CW#1 is known to your affiant. CW#1 expressed fear of
 retaliation if that identity became known to targets of the investigation.
 Thus I have purposely omitted the identity of CW#1 to protect against
 reprisal should this cooperation become known to the targets.
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 15. CW#1 was shown several images captured from videos taken

 during the riot and asked to identify the subject depicted in

 the photographs.     CW#1 identified the subject as SCAGLIONE

 (Exhibits 2-8).     CW#1 was then shown a portion of the video

 taken from N. J.'s Facebook Live video. After reviewing from

 approximately the 46:00-46:33 mark, CW#1 identified NICHOLAS

 SCAGLIONE as the person in the video.

 16. On August 7, 2020, an interview was conducted with N. L.

 (‘N. L.’).    The identity of N. L. is known to me.         N. L. saw the

 media release and wanted poster for the two subjects involved in

 the arson of the Providence Police Department vehicle.            N. L.

 recognized 'Individual #2' as NICHOLAS SCAGLIONE.

 17. N. L. had known SCAGLIONE for approximately (15) years and

 last saw him about three months ago. They are also "friends" on

 Facebook.

 18. N. L. had access to text messages that were exchanged

 between SCAGLIONE and SCAGLIONE’s ex-wife, K. K., starting on

 June 2, 2020. The identity of K. K. is known to your affiant.

 K. K.’s cell phone number was XXX-XXX-8124 and SCAGLIONE's cell

 phone number was XXX-XXX-1540 (Exhibits 11-23).

 19. N. L. stated that K. K. was disgusted with SCAGLIONE, but

 did not want to turn him in. K. K. and SCAGLIONE had a son

 together.
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 20. Language from SCAGLIONE's texts include, but are not limited

 to, "But that police cruiser that went up in flames last night

 can be replaced... I was pissed. I've been pissed. That was pent

 up years of rage and frustration with the way I've seen and been

 treated by police. That cop car can be replaced. Peoples lives

 cannot... Then I go out fighting and standing up for shit I

 believe in. Cuz I know for a fact if it was you or anyone else I

 was close to I'd burn the whole police force down and not even

 blink."

 21. N. L. was shown several images and asked to identify the

 subject depicted in the photographs (Exhibits 1-8).           N. L.

 identified the subject as SCAGLIONE.

 22. N. L. was then shown a portion of the video taken from N.

 J.'s Facebook Live video.      After reviewing from approximately

 the 46:00-46:33 mark, N. L. identified SCAGLIONE as the person

 in the video.

 23. On August 12, 2020, K. K. was interviewed in-person.            K. K.

 provided her cell phone and verified the authenticity of the

 aforementioned text messages by N. L.         In sum and substance, and

 in part, K. K. said that she was aware that SCAGLIONE

 participated in the riot that took place on the evening of June

 1 and into the morning of June 2, 2020.         SCAGLIONE texted K. K.

 that he was at the riot.      K. K. also recognized SCAGLIONE’s

 photo on the news.     SCAGLIONE had expressed anger and animosity
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 toward law enforcement.       SCAGLIONE did not want K. K. to speak

 with the FBI.     SCAGLIONE also informed K. K. that he got rid of

 the sweatshirt and bandana that he wore on that evening.

 SCAGLIONE acknowledged in his texts that he was facing federal

 charges and that he directed the aggression where it should go.

 SCAGLIONE told K. K. that he was taking the week off work

 because he was going to be going away to jail for a while.

 24. K. K. was shown several images and asked to identify the

 subject depicted in the photographs (Exhibits 2-8).            K. K.

 identified the subject as SCAGLIONE.

 25. K. K. was then shown a portion of the video taken from N.

 J.'s Facebook Live video.       After reviewing from approximately

 the 46:00-46:33 mark, K. K. identified SCAGLIONE as the person

 in the video.

 26. On August 14, 2020, Luis Joel Sierra (‘Sierra’) was

 interviewed for his participation the arson of the Providence

 Police Department vehicle.       During this interview, Sierra

 admitted to spraying lighter fluid into the vehicle.            After

 spraying the lighter fluid into the vehicle, Sierra threw the

 bottle of lighter fluid back into the vehicle.           Sierra then

 stated that a white kid reached into the vehicle and grabbed the

 bottle of lighter fluid.       As the flame that Sierra had caused

 started to recede, this person sprayed more lighter fluid onto

 the existing flame, causing it to grow.          When asked to describe
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 this individual, Sierra described him as 5’4”, with a ponytail,

 beard, and no mask.      Sierra was then shown images and depicting

 ‘Individual #2’, now known as SCAGLIONE, from the R. R. and E.B.

 videos (Exhibits 2-8, 10).       Sierra then verified that was the

 person who sprayed additional lighter fluid into the vehicle.

 27. On August 14, 2020, Sierra was arrested and charged by

 criminal complaint with attempted malicious destruction of a

 vehicle by fire, in violation of 18 U.S.C. § 844(f) (1:20-MJ-64-

 LDA).   He made an initial appearance with counsel from the

 Federal Public Defender’s Office.        Sierra is detained at the

 Wyatt Detention Facility.

 28. Upon reviewing the Facebook Live video posted by account

 user ‘n(redacted).j(redacted).33’, the subject now identified as

 SCAGLIONE is depicted throwing an object toward the vehicle at

 the 40:17 mark.     At the 41:15 mark, SCAGLIONE participates in

 attempting to flip the vehicle over with other individuals.             At

 the 46:29 mark, there is a visible stream of liquid emanating

 from SCAGLIONE into the driver’s side compartment of the police

 vehicle.    At approximately the 51:00 mark, fire is observed in

 the front compartment of the vehicle. At approximately the 55:00

 mark, the vehicle is fully engulfed in flames.

 29. Upon reviewing the E. B. video, at the 26:07 mark, the

 subject now identified as SCAGLIONE is recorded leaning into the

 vehicle and lighting it on fire. At the 27:00-27:20 mark, both
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 SCAGLIONE and Luis Sierra are leaning into the vehicle.                                                                                                              At the

 27:16 mark, SCAGLIONE is observed squirting a liquid into the

 vehicle.                      At the 28:18 mark, smoke is emitting from the vehicle.



                                                                                 CONCLUSION
 30. Based on the foregoing, I believe that there is probable

 cause to believe that Nicholas L. SCAGLIONE did attempt to

 damage or destroy by fire a vehicle owned or possessed by the

 Providence Police Department, in violation of 18 U.S.C. §

 844(f)(1).

 Sworn to under the pains and penalties of perjury,




                                                                                        Special Agent
                                                                                        Federal Bureau of Investigation


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